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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                             Case No. 2:17-cr-82-FtM-38CM

TORY CARNEGIE
a/k/a “T-Row”
____________________________

                       PRELIMINARY ORDER OF FORFEITURE

      The United States moves, pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c),

and Rule 32.2(b)(2), Federal Rules of Criminal Procedure, for a preliminary order of

forfeiture for (1) an American Tactical Imports-Ati Omni Rifle, .556 caliber, serial number

AR39418, and (2) a Glock Inc. 27, .40 caliber pistol, serial number EUK015US.

      Being fully advised in the relevant facts, the Court finds as follows:

      The defendant has been found guilty of Count Fifteen of the indictment charging

possession of firearms after being convicted of a felony offense.

      The United States has established the requisite nexus between the defendant’s

crime of conviction and the property identified above. The government is now entitled to

possession of the firearms, pursuant to the provisions of 18 U.S.C. § 924(d)(1), 28 U.S.C.

§ 2461(c), and Rule 32.2(b)(2).

      Accordingly, it is ORDERED that the motion of the United States is GRANTED.

Pursuant to 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c), and Federal Rule of Criminal

Procedure 32.2(b)(2), the firearms identified above are FORFEITED to the United States

of America for disposition according to law, subject to the provisions of 21 U.S.C. § 853,

as incorporated by 28 U.S.C. § 2461(c).
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      The Court retains jurisdiction to address any third party interest that may be

asserted and to complete the forfeiture and disposition of the property.

      ORDERED in Fort Myers, Florida, on this 6th day of November, 2017.




Copies to:
All Parties\Counsel of Record




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